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t(   Declaration (hta Form 6 - I)cclai tion). (Ii07)

                                                       United States Bankruptcy Court
                                                           Northerp District of Illinois
             Erin L Sudberry-Laudatj
In re        Vito Laudati, III                                                                     Case   No.   15-26971
                                                                          ehtorls)                  Chapter     13



                         DECLARATION CONCERNING DEBTOR'S SCHEDULES - AMENDED

                                 DECLARATION, UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                        I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting
            of     25     sheets, and that they are true and correct to the best of my knowledge, information, and belief.




Date           [)14 J!4>1                                     Signature               (A
                                                                          Erin L Sudberry-Lau.ati
                                                                          Debtor


Date
            111,1117                                          Signature
                                                                                ãudati, Ill
                                                                          Joint Debtor

      Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                             18 U.S.C. §§ 152 and 3571.
